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 4                              UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )              Case No. 2:09-cr-00262-JCM-GWF
                                               )
 9   vs.                                       )              ORDER
                                               )
10   ADRIAN FUENTES-GARCIA,                    )
                                               )
11                     Defendant.              )
     __________________________________________)
12
13          This matter is before the Court on Alina M. Shell’s Motion to Withdraw as Counsel and
14   Request for Appointment of CJA Counsel (#328) filed June 17, 2014. Upon review and
15   consideration,
16          IT IS HEREBY ORDERED that Alina M. Shell’s Motion to Withdraw as Counsel and
17   Request for Appointment of CJA Counsel (#328) is granted. CJA appellate counsel will be
18   appointed to represent Adrian Fuentes-Garcia.
19          IT IS FURTHER ORDERED that the hearing set for Wednesday, June 25, 2014 at 3:00
20   p.m. is hereby vacated.
21          DATED this 20th day of June, 2014.
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23                                               ______________________________________
                                                 GEORGE FOLEY, JR.
24                                               United States Magistrate Judge
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